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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


LIONEL SORRELLS,

               Defendant-Petitioner,
                                                    Civil Case No. 05-70232
                                                    Criminal Case No. 02-80810
v.
                                                    HONORABLE DENISE PAGE HOOD
UNITED STATES OF AMERICA,

            Plaintiff-Respondent.
_______________________________________/

                                         JUDGMENT

        In accordance with the Order entered this date, and the Court having entered an Order

dismissing this matter;

        Accordingly, judgment is entered in favor of Respondent and against Petitioner.

                                                           DAVID J. WEAVER
                                                           CLERK OF THE COURT


Approved:                                                  By: s/ Wm. F. LEWIS
                                                           Deputy Clerk



 /s/ Denise Page Hood
DENISE PAGE HOOD
United States District Judge

DATED:      July 25, 2005

Detroit, Michigan
